 

Case 2:21-cr-20005-BAF-EAS ECF No. 19, PagelD.30 Filed 01/06/21 Page 1 of 9

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA, Case:2:21-cr-20005
Judge: Friedman, Bernard A.
Plaintiff, MJ: Stafford, Elizabeth A.

Filed: 01-06-2021 At 03:58 PM
INDI USA V. RUSSELL ET AL (DA)

 

Vv.
Violations:
D-1 CHRISTOPHER RUSSELL, 21 U.S.C. § 846
D-2 MALIK COWPER. 21 USS.C. § 841(a)(1)
. 21 US.C. § 841(b)(1)(B)
Defendants. 18 U.S.C. § 922(0)
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

(21 U.S.C. § 846 — Conspiracy to Commit a Title 21 Offense)

D-1 CHRISTOPHER RUSSELL
D-2 MALIK COWPER

On or about and between October 1, 2020, through on or about December 9,
2020, both dates being approximate and inclusive, in the Eastern District of
Michigan and elsewhere, the defendants, CHRISTOPHER RUSSELL and MALIK
COWPER, knowingly conspired and agreed with each other and with persons known

and unknown to the Grand Jury, to distribute and to possess with intent to distribute

 
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controlled substances, in violation of Title 21, United States Code, Sections 846 and
841(a)(1).

With respect to the defendants, CHRISTOPHER RUSSELL and MALIK
COWPER, the controlled substances involved in the conspiracy attributable to them
as a result of their own conduct, and the conduct of other conspirators reasonably
foreseeable to them, are 100 grams or more of a mixture and substance containing a
detectable amount of heroin (a Schedule I controlled substance), and 40 grams or
more of a mixture and substance containing a detectable amount of N-phenyl-N-[1-
(2-phenylethyl)-4-piperidinyl] propanamide, also known as fentanyl (a Schedule II
controlled substance), in violation of Title 21, United States Code, Section
841(b)(1)(B)().

COUNT TWO
D-1 CHRISTOPHER RUSSELL
(21 U.S.C. § 841(a)(1) — Distribution of Controlled Substances)

On or about October 5, 2020, in the Eastern District of Michigan, the
defendant, CHRISTOPHER RUSSELL, knowingly and intentionally distributed a
mixture and substance containing heroin (a Schedule I controlled substance) and
fentanyl (a Schedule II controlled substance), in violation of Title 21, United States

Code, Sections 841(a)(1) and (b)(1)(B).
 

 

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COUNT THREE

 

D-1 CHRISTOPHER RUSSELL
(21 U.S.C. § 841(a)(1) — Distribution of Controlled Substances)

On or about October 9, 2020, in the Eastern District of Michigan, the
defendant, CHRISTOPHER RUSSELL, knowingly and intentionally distributed a
mixture and substance containing heroin (a Schedule I controlled substance) and
fentanyl! (a Schedule II controlled substance), in violation of Title 21, United States
Code, Sections 841(a)(1) and (b)(1)(B).

COUNT FOUR
D-1 CHRISTOPHER RUSSELL
(21 U.S.C. § 841(a)(1) — Distribution of Controlled Substances)

On or about October 14, 2020, in the Eastern District of Michigan, the
defendant, CHRISTOPHER RUSSELL, knowingly and intentionally distributed a
mixture and substance containing heroin (a Schedule I controlled substance) and
fentanyl (a Schedule II controlled substance), in violation of Title 21, United States
Code, Sections 841(a)(1) and (b)(1)(B).

COUNT FIVE
D-1 CHRISTOPHER RUSSELL

(21 U.S.C. § 841(a)(1) — Distribution of Controlled Substances)
 

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On or about October 21, 2020, in the Eastern District of Michigan, the
defendant, CHRISTOPHER RUSSELL, knowingly and intentionally distributed a
mixture and substance containing heroin (a Schedule I controlled substance) and
fentanyl (a Schedule II controlled substance), in violation of Title 21, United States
Code, Sections 841(a)(1) and (b)(1)(B).

COUNT SIX
D-2 MALIK COWPER
(21 U.S.C. § 841(a)(1) — Distribution of Controlled Substances)

On or about November 4, 2020, in the Eastern District of Michigan, the
defendant, MALIK COWPER, knowingly and intentionally distributed a mixture
and substance containing heroin (a Schedule I controlled substance) and fentanyl (a
Schedule II controlled substance), in violation of Title 21, United States Code,
Sections 841(a)(1) and (b)(1)(B).

COUNT SEVEN
D-2 MALIK COWPER
(21 U.S.C. § 841(a)(1) — Distribution of Controlled Substances)

On or about November 12, 2020, in the Eastern District of Michigan, the

defendant, MALIK COWPER, knowingly and intentionally distributed a mixture

and substance containing heroin (a Schedule I controlled substance) and fentanyl (a
 

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Schedule II controlled substance), in violation of Title 21, United States Code,
Sections 841(a)(1) and (b)(1)(B).
COUNT EIGHT
D-2 MALIK COWPER
(21 U.S.C. § 841(a)(1) — Distribution of Controlled Substances)

On or about November 23, 2020, in the Eastern District of Michigan, the
defendant, MALIK COWPER, knowingly and intentionally distributed a mixture
and substance containing heroin (a Schedule I controlled substance) and fentanyl (a
Schedule II controlled substance), in violation of Title 21, United States Code,
Sections 841(a)(1) and (b)(1)(B).

COUNT NINE
D-2 MALIK COWPER
(21 U.S.C. § 841(a)(1) — Distribution of Controlled Substances)

On or about December 2, 2020, in the Eastern District of Michigan, the
defendant, MALIK COWPER, knowingly and intentionally distributed a mixture
and substance containing heroin (a Schedule I controlled substance) and fentanyl (a
Schedule II controlled substance), in violation of Title 21, United States Code,
Sections 841(a)(1) and (b)(1)(B).

COUNT TEN

(18 U.S.C. § 922(0) — Illegal Possession of a Machine Gun)
 

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D-1 CHRISTOPHER RUSSELL

On or about December 9, 2020, in the Eastern District of Michigan, the
defendant, CHRISTOPHER RUSSELL, knowingly possessed a machine gun, that
is, a Glock, model 17, 9mm caliber pistol equipped with a Glock conversion switch
which rendered it fully automatic, in violation of Title 18 U.S.C. § 922(0).

FORFEITURE ALLEGATIONS
(18 U.S.C. § 924(d), 21 U.S.C. § 853(a), and 28 U.S.C. § 2461)

The allegations contained in Counts One, Two, Three, Four, Five, Six, Seven,
Eight, Nine, and Ten of this Indictment are hereby re-alleged and incorporated by
reference for the purpose of alleging forfeiture pursuant to Title 18, United States
Code, Section 924(d); Title 21, United States Code, Section 853(a); and, Title 28,
United States Code, Section 2461.

Upon conviction of the offense charged in Count One of this Indictment,
pursuant to Title 21, United States Code, Section 853(a)(1), the defendant shall
forfeit to the United States any property constituting, or derived from, proceeds he
obtained, directly or indirectly, as the result of such violation.

Upon conviction of the offense charged in Counts One, Two, Three, Four,
Five, Six, Seven, Eight, Nine, and Ten of this Indictment, pursuant to Title 21,
United States Code, Section 853(a)(2), the defendant shall forfeit to the United States

any property used, or intended to be used, in any manner or part, to commit, or

 
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facilitate the commission of such violation. Upon conviction of the offense charged

in Count Four of this Indictment, the defendant shall forfeit to the United States,

pursuant to Title 18, United States Code, Section 924(d)({1) and 28 United States

Code, Section 2461, any firearm or ammunition involved in or used in any knowing

violation of knowing violation of subsection (a)(4), (a)(6), (f), (g), (h), (i), G), or (kK)

of Title 18, United States Code, Section 922, or knowing violation of Title 18, United

States Code, Section 924.

Substitute Assets: If the property described above as being subject to

forfeiture, as a result of any act or omission of:

a.

b.

Cannot be located upon the exercise of due diligence;

Has been transferred or sold to, or deposited with, a third party;
Has been placed beyond the jurisdiction of the Court;

Has been substantially diminished in value; or

Has been commingled with other property that cannot be divided
without difficulty;

the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), and Title 28, United States

Code, Section 2461(c).
 

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MATTHEW SCHNEIDER
United States Attorney

CRAIG WININGER
Chief, Violent and Organized Crime Unit

s/Blake S. Hatlem

THIS IS A TRUE BILL

s/Grand Jury Foreperson

 

 

BLAKE S. HATLEM
Assistant United States Attorney

Dated: January 6, 2021

GRAND JURY FOREPERSON
 

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United States District Court im] Judge: Friedman, Bernard A.
Eastern District of Michigan Criminal Case Cove MJ: Stafford, Elizabeth A.
Filed: 01-06-2021 At 03:58 PM

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurai INDI USA V. RUSSELL ET AL (DA)

 

Companion Case Number:

 

 

 

 

 

 

DYes HINo AUSA’s Initials: 7 opr

 

Case Title: USA v. Christopher Russell, et. al.
County where offense occurred: Jackson
Offense Type: Felony

Indictment — based on prior complaint [Case number 20-MJ-30509]

 

 

 

 

Superseding to Case No: Judge:
Reason:
Defendant Name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case

January 6, 2021 MA. the AAR

Date Blake Hatlem
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Bar #: P58969

‘ Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same or related parties are
| present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already
been terminated.
